          Case 6:19-cv-00318-MC            Document 42   Filed 03/21/19   Page 1 of 55




Jeremy D. Sacks, OSB 994262
jeremy.sacks@stoel.com
Per A. Ramfjord, OSB 934024
per.ramfjord@stoel.com
Kennon Scott, OSB 144280
kennon.scott@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Tel.: (503) 224-3380
Fax: (503) 220-2480
Attorneys for Plaintiffs
ADDITIONAL COUNSEL LISTED ON SIGNATURE PAGE




                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                           EUGENE DIVISION




                                                                      Case No. 6:19-cv-00318-MC
AMERICAN MEDICAL ASSOCIATION et al.,

                            Plaintiffs,                            PLAINTIFFS’ MOTION FOR A
                                                                   PRELIMINARY INJUNCTION
         v.                                                          Pursuant to Fed. R. Civ. P. 65
ALEX M. AZAR II et al.,
                                                               Oral Argument Date: April 23, 2019
                            Defendants.                               Expedited Hearing Requested
                                                                        Request for Oral Argument




                  PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
            Case 6:19-cv-00318-MC                        Document 42               Filed 03/21/19              Page 2 of 55




                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES ........................................................................................................ iii

LOCAL RULE 7-1(a) COMPLIANCE ......................................................................................... 1

MOTION........................................................................................................................................ 1

MEMORANDUM OF LAW ......................................................................................................... 1

I.         INTRODUCTION ............................................................................................................. 1

II.        STATEMENT OF THE CASE.......................................................................................... 4

           A.         The Title X Program .............................................................................................. 4

                      1.         Enactment and extraordinary success of Title X ....................................... 4

                      2.         Statutory and regulatory history concerning pregnancy counseling
                                 and separation requirements ...................................................................... 5

           B.         The Final Rule...................................................................................................... 10

                      1.         Gag Requirement ..................................................................................... 10

                      2.         Separation Requirement ........................................................................... 13

III.       LEGAL STANDARD ...................................................................................................... 14

IV.        ARGUMENT ................................................................................................................... 15

           A.         Plaintiffs Are Likely To Succeed On The Merits ................................................ 15

                      1.         The Gag Requirement’s Restrictions On Pregnancy Counseling
                                 Are Unlawful ........................................................................................... 15

                                 a.         The Gag Requirement is contrary to federal law ......................... 15

                                 b.         The Gag Requirement is arbitrary and capricious ....................... 20

                      2.         The Gag Requirement’s Speaker-Based Ban On Who Can Provide
                                 Pregnancy Counseling Is Unlawful ......................................................... 24

                                 a.         The speaker-based ban was promulgated without proper
                                            procedure...................................................................................... 25

                                 b.         The speaker-based ban is contrary to federal law ........................ 26

                                 c.         The speaker-based ban is arbitrary and capricious ...................... 27

Page i          - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
          Case 6:19-cv-00318-MC                     Document 42              Filed 03/21/19            Page 3 of 55




                   3.         The Gag Requirement Is Unconstitutional .............................................. 28

                   4.         The Separation Requirement Is Unlawful................................................ 31

                              a.        The Separation Requirement is contrary to federal law............... 32

                              b.        The Separation Requirement is arbitrary and capricious ............. 36

         B.        Plaintiffs And Patients Will Suffer Irreparable Harm Absent An Injunction ...... 40

                   1.         Loss Of Providers, Health Center Closures, And Cut Services ............... 40

                   2.         Harm To The Provider-Patient Relationship ........................................... 42

                   3.         Harm To Patients And Public Health....................................................... 43

         C.        The Balance Of Equities And Public Interest Favor An Injunction .................... 44

V.       CONCLUSION ................................................................................................................ 45




Page ii       - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
            Case 6:19-cv-00318-MC                       Document 42              Filed 03/21/19             Page 4 of 55




                                                TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

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   (9th Cir. 2017)..........................................................................................................................45

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  (9th Cir. 2009)..........................................................................................................................42

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   (E.D. Cal. 2004) .......................................................................................................................36

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   (D.C. Cir. 2009) .......................................................................................................................25

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   (N.D. Cal. Jan. 20, 2009) .........................................................................................................24

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   Council 31, 138 S. Ct. 2448 (2018) .........................................................................................30

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   Automobile Insurance Co., 463 U.S. 29 (1983)............................................................... passim

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   979 F.2d 227 (D.C. Cir. 1992) ...................................................................................................7

Page iii - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
            Case 6:19-cv-00318-MC                       Document 42               Filed 03/21/19             Page 5 of 55




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   (N.D. Tex. June 27, 2016)........................................................................................................37

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Natural Resource Defense Council, Inc. v. Pritzker, 828 F.3d 1125 (9th Cir. 2016) ..............24, 36

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   (D. Or. 2014) ............................................................................................................................14

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   (D. Ariz. 2012) .........................................................................................................................44

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   Services, Inc. v. Smith, 236 F. Supp. 3d 974 (W.D. Tex. 2017) ..............................................45

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   Local 4, 2013 WL 5651624 (D. Or. Oct. 15, 2013) .................................................................42

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   (9th Cir. 2010)..........................................................................................................................45

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   (9th Cir. 2001)..........................................................................................................................43

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Page iv - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
            Case 6:19-cv-00318-MC                         Document 42               Filed 03/21/19              Page 6 of 55




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   425 U.S. 748 (1976) .................................................................................................................31

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CONSTITUTIONAL PROVISIONS

U.S. Const. amend. I .............................................................................................................. passim

STATUTES

5 U.S.C.
   § 553.........................................................................................................................................25
   § 702.........................................................................................................................................42
   § 706...................................................................................................................................14, 26

42 U.S.C.
   § 238n.......................................................................................................................................19
   § 300.......................................................................................................................................2, 4
   § 300a-5 .................................................................................................................................2, 4
   § 300a-6 ...............................................................................................................................5, 35
   § 18114............................................................................................................................. passim

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RULES & REGULATIONS

Fed. Rule of Civ. Proc. 65................................................................................................................1

Local Rule 7-1..................................................................................................................................1

42 C.F.R.
   § 59.5................................................................................................................................ passim
   § 59.9....................................................................................................................................9, 36

Compliance with Statutory Program Integrity Requirements,
  84 Fed. Reg. 7,714 (Mar. 4, 2019) ................................................................................... passim



Page v           - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
           Case 6:19-cv-00318-MC                    Document 42              Filed 03/21/19           Page 7 of 55




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  83 Fed. Reg. 25,502 (June 1, 2018) ...................................................................................10, 26

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  58 Fed. Reg. 7,455 (Feb. 5, 1993) .............................................................................................7

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   Services Projects, 65 Fed. Reg. 41,270 (July 3, 2000) .................................................... passim

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    Planning Services Projects, 53 Fed. Reg. 2,922 (Feb. 2, 1988) ................................................6

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   65 Fed. Reg. 41,281 (July 3, 2000) ............................................................................6, 9, 13, 37

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   the Right to Receive Unbiased Medical Advice, 74 B. U. L. Rev. 201 (1994) ..................29, 30

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Page vi - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
          Case 6:19-cv-00318-MC       Document 42       Filed 03/21/19     Page 8 of 55




COMMENT LETTERS

American Civil Liberties Union (“ACLU”) Comment Ltr. (July 31, 2018)
  https://www.regulations.gov/document?D=HHS-OS-2018-0008-190184 ..............................38

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  2018) https://www.regulations.gov/document?D=HHS-OS-2018-0008-179339 ...................24

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  https://www.regulations.gov/document?D=HHS-OS-2018-0008-179739 ...................... passim

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  https://www.regulations.gov/document?D=HHS-OS-2018-0008-106624 ........................19, 26

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   2018) https://www.regulations.gov/document?D=HHS-OS-2018-0008-182434 ...................19

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   (“WA, OR, VT, MA AGs”) Comment Ltr. (July 31, 2018)
   https://www.regulations.gov/document?D=HHS-OS-2018-0008-182278 ..............................21

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   https://www.regulations.gov/document?D=HHS-OS-2018-0008-161651 ..............................22

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   https://www.regulations.gov/document?D=HHS-OS-2018-0008-178129 ...................... passim

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   https://www.regulations.gov/document?D=HHS-OS-2018-0008-190098 ..............................27

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   Comment Ltr. (July 31, 2018)
   https://www.regulations.gov/document?D=HHS-OS-2018-0008-192227 ..................20, 38, 39

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  https://www.regulations.gov/document?D=HHS-OS-2018-0008-155772 ..............................33

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   https://www.regulations.gov/document?D=HHS-OS-2018-0008-198841 ...................... passim

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   https://www.regulations.gov/document?D=HHS-OS-2018-0008-183710 ..............................23




Page vii - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19     Page 9 of 55




                            LOCAL RULE 7-1(a) COMPLIANCE

       As required by Local Rule 7-1(a), counsel for Plaintiffs certifies that the parties have

made a good faith effort by telephone conference to resolve the issues presented in this motion

and have been unable to reach any such resolution.

                                            MOTION

       Under Federal Rule of Civil Procedure 65, Plaintiffs move for a preliminary injunction

prohibiting Defendants from enforcing the final rule titled Compliance with Statutory Program

Integrity Requirements, 84 Fed. Reg. 7,714 (Mar. 4, 2019) (“Final Rule”). Absent an injunction,

the Final Rule would become effective on May 3, 2019. Plaintiffs respectfully request a ruling

on this motion on or before May 2, the day before the effective date. Plaintiffs request that an

injunction be granted without bond. This motion is based on the complaint, the accompanying

memorandum of law, and supporting declarations. 1

                                  MEMORANDUM OF LAW

I.     INTRODUCTION

       Congress created the Title X program nearly a half-century ago to ensure that all people,

and especially individuals with low incomes, have access to comprehensive family-planning

care. Under regulations that have been largely unchanged since the statute’s enactment, the Title

X program has accomplished its vital mission through a network of experienced reproductive

health care providers who have earned the trust of millions of Americans turning to them for


1
       The 11 declarations submitted in support of this motion include the following:
Declaration of Kimberly Custer (Mar. 21, 2019); Declaration of Lisa Gardner (Mar. 20, 2019);
Declaration of Dr. Anne Udall (Mar. 20, 2019); Declaration of Dr. Thomas N. Ewing (Mar. 21,
2019); Declaration of Michele P. Megregian, C.N.M. (Mar. 20, 2019); Declaration of Dr. Fred
Williams (Mar. 20, 2019); Declaration of Dr. James L. Madara (Mar. 21, 2019); Declaration of
Tanya Atkinson (Mar. 19, 2019); Declaration of Jennifer Black (Mar. 20, 2019); Declaration of
Claire D. Brindis, DrPH (Mar. 21, 2019); Declaration of Kathryn Kost (Mar. 20, 2019).


Page 1     - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19      Page 10 of 55




life-saving services. The Title X program has been one of the most successful public health

programs in our nation’s history, significantly reducing the rates of unintended pregnancy and

abortion, and yielding vast benefits for sexual and reproductive health.

         The federal government now seeks to impose a radical change of course. Under the guise

of “program integrity,” the Department of Health and Human Services (“HHS”) has issued an

unlawful Final Rule that would warp and decimate the Title X program. The Final Rule would

harm patients and providers, politicize the practice of medicine and the delivery of health care,

and advance a dangerous idea—that physicians and others in the medical profession are to place

the interests of government above the interests of their patients. Accordingly, Plaintiffs—leading

local and national health care organizations, including the American Medical Association and

Planned Parenthood, and individual health care professionals—move for a preliminary injunction

against the Final Rule’s enforcement. Absent injunctive relief, it will take effect 43 days from

today, on May 3, 2019.

         The Final Rule operates through two central and integrated provisions:

    •    a gag on the medical profession requiring that practitioners in the Title X program
         direct pregnant women away from abortion and toward continuing a pregnancy to
         term—regardless of what a patient actually wants or needs (the “Gag
         Requirement”); and

    •    “physical and financial” separation requirements under which Title X providers
         having virtually anything to do with abortion—including advising patients about
         or providing abortions with non-Title X funds—must now, at immense cost,
         create separate facilities and health care records systems and hire separate
         personnel (the “Separation Requirement”).

         The Final Rule is unlawful. To start, it violates at least three federal laws. It contravenes

the repeated congressional mandates that “all pregnancy counseling” under Title X be

“nondirective,” e.g., Pub. L. No. 115-245, 132 Stat. 2981, 3070-3071 (2018); that Title X

services be “voluntary,” 42 U.S.C. §§ 300, 300a-5; and that HHS shall not promulgate “any”

Page 2        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 11 of 55




regulation that, among other things, “interferes with communications regarding a full range of

treatment options between the patient and the provider” or “restricts the ability of health care

providers to provide full disclosure of all relevant information to patients making health care

decisions,” 42 U.S.C. § 18114. The Final Rule is also unconstitutional, in violation of the First

Amendment. Indeed, the Supreme Court recently warned against precisely what the Final Rule

would accomplish—“government[] … ‘manipulat[ion]’” of the “‘content of doctor-patient

discourse.’” National Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2374 (2018)

(“NIFLA”).

         The Final Rule is also arbitrary and capricious in numerous respects. In particular, it will

lead to a mass exodus of providers from the Title X program, leaving many patients without

access to health care. Virtually all the leading health organizations in the United States warned

HHS of precisely that devastating consequence and more, including major gaps in access to care,

harm to public health, and immense cost. HHS’s silence in response is deafening. The Final

Rule ignores or sweeps away these grave problems without evidence or analysis, and identifies

no discernible public health benefit of its radical approach.

         HHS’s silence, moreover, betrays yet another core flaw. The Final Rule is plagued by

rigid adherence to ideological policy preferences with no grounding in evidence, law, or public

health. For example, the Separation Requirement is purportedly designed to protect Title X

funds from misapplication—but in the Final Rule, HHS cites no evidence of misuse of Title X

funds over the past 50 years. Nonetheless, citing nothing more than vague notions of “risk[s]” of

“appearance[s]” and “perception[s],” 84 Fed. Reg. at 7,764, the Final Rule would impose

sweeping requirements on Title X providers that would harm patient care at great cost.

         Finally, Plaintiffs easily satisfy the remaining preliminary-injunction factors: irreparable



Page 3        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC            Document 42     Filed 03/21/19     Page 12 of 55




harm, balance of equities, and public interest. The government is seeking to upend the way the

Title X program has functioned with great success for nearly 50 years. There is no harm in

preserving that status quo. Conversely, if the Gag Requirement alone takes effect on May 3,

Planned Parenthood and numerous States will be forced to leave the program that same day.

Planned Parenthood alone provides care to an estimated 40% of all Title X patients—

approximately 1.6 million people nationwide. Put simply, the impact of the Final Rule absent an

injunction will be nothing short of a public health crisis.

II.      STATEMENT OF THE CASE

         A.       The Title X Program

                  1.        Enactment and extraordinary success of Title X

         Enacted in 1970, the Title X program makes family-planning services available to low-

income individuals for free or at low cost. See 42 U.S.C. §§ 300 et seq.; Compl. ¶¶ 55-59. Title

X’s central purpose is “to assist in making comprehensive voluntary family planning services

readily available to all persons desiring such services.” Pub. L. No. 91-572, § 2(1), 84 Stat. 1504

(1970). The program supports a broad range of reproductive health care, including

contraception, testing and referral for sexually transmitted infections (“STIs”), well-woman visits

and breast and cervical cancer screening, and pregnancy testing and counseling, including

referrals. These services must always be “voluntary,” 42 U.S.C. §§ 300, 300a-5, and “never

coercive,” e.g., 84 Fed. Reg. at 7,728.

         The Title X program serves millions of patients each year with enormous benefits. See,

e.g., Compl. ¶¶ 73-89. Title X providers, for example, regularly provide millions of patients

with contraceptive services, significantly reducing the rates of unintended pregnancy and

abortion, see, e.g., Kost Decl. ¶¶ 7, 35; both unintended pregnancies and abortions are now at

historical lows. And through millions of tests for STIs and cancer screens, the Title X program

Page 4        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42      Filed 03/21/19     Page 13 of 55




has also contributed to the prevention, early detection, and treatment of STIs and the prevention

and early detection of cervical cancer. See, e.g., id. ¶¶ 52-58.

         Plaintiffs are leading local and national health care organizations and individual health

care professionals. They have participated, themselves or through their members or affiliates, in

the Title X program for decades, and are deeply committed to and supportive of Title X’s

mission. See, e.g., Custer Decl. ¶ 48; Madara Decl. ¶ 7; Williams Decl. ¶ 8; Gardner Decl. ¶¶ 4,

34-38; Udall Decl. ¶¶ 29-30; Ewing Decl. ¶¶ 19-21; Megregian Decl. ¶ 24. Plaintiffs’

experiences—and in particular, that of Planned Parenthood—bear out and underscore the

importance and success of the Title X program.

         Planned Parenthood operates more than 600 health centers across the nation and serves

approximately 2.4 million patients each year. In 2017, Planned Parenthood affiliates provided

health care services to approximately 40% of all the patients who received care in the Title X

program—1.6 million patients. See Custer Decl. ¶¶ 8, 50. Through the Title X program, in 2017

alone, Planned Parenthood health centers provided an estimated 183,000 Pap tests, 2,720,000

STI tests, and 196,000 breast exams. See id. ¶ 52. Planned Parenthood affiliates are safety-net

providers who serve those with the fewest resources, and operate on tight budgets focused on

patient care and education services. See, e.g., Atkinson Decl. ¶¶ 11, 61.

                  2.        Statutory and regulatory history concerning pregnancy counseling
                            and separation requirements

         This case involves Section 1008 of Title X, which provides that no Title X funds “shall

be used in programs where abortion is a method of family planning.” 42 U.S.C. § 300a-6. That

provision, in the statute since its enactment, prohibits Title X projects from using Title X funds

to provide abortions. But it does not seek to interfere with communications between Title X

providers and their patients about abortion—as Congress and HHS have repeatedly confirmed.


Page 5        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19     Page 14 of 55




See Compl. ¶ 60; 65 Fed. Reg. 41,270, 41,270, 41,271 (July 3, 2000) (describing history).

         Thus, Title X regulations have long required that Title X providers must: (1) offer a

pregnant patient the opportunity to receive nondirective counseling on all her medical options,

including counseling on and referral for prenatal care, adoption, and abortion; and then

(2) if requested by the patient, actually provide the counseling she seeks. See, e.g., 42 C.F.R.

§ 59.5(a)(5); 65 Fed. Reg. at 41,270. That settled agency view is grounded in fundamental

ethical tenets of the medical profession and ensures full and frank communications between

providers and patients. See, e.g., 65 Fed. Reg. at 41,270; Compl. ¶¶ 90-99; Ewing Decl. ¶¶ 14-

17; Megregian Decl. ¶¶ 33-36; Madara Decl. ¶¶ 17-20; AMA Comment Ltr. 1 (July 31, 2018).

         Moreover, since the statute’s inception, Title X care has been delivered in many

communities by expert reproductive health care providers like Planned Parenthood who—outside

the program with non-Title X funds—also provide abortion services. In accordance with Section

1008, those providers must ensure that Title X funds are not used for any “[n]on-Title X abortion

activities.” 65 Fed. Reg. 41,281, 41,282 (July 3, 2000). Title X providers have long

demonstrated compliance with that requirement “by various means, including counseling and

service protocols, intake and referral procedures, material review procedures, and other

administrative procedures.” Id. With one exception long ago abandoned, Title X providers have

never been required to “physically” separate their Title X program from non-Title X abortion-

related services through separate facilities, personnel, and file systems. See id. at 41,275-41,276.

         The one brief exception to this long settled regulatory scheme was in 1988, when HHS

issued a rule that prohibited Title X projects from “provid[ing] counseling concerning the use of”

or “provid[ing] referral” for abortion. 53 Fed. Reg. 2,922, 2,945 (Feb. 2, 1988). The 1988 rule

further required providers to broadly “physically” separate their Title X project services and any



Page 6        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42        Filed 03/21/19      Page 15 of 55




non-Title X abortion-related services, id. at 2,940, including through “separat[e] … facilities,”

“separate personnel,” and “separate accounting records,” id. at 2,945; see 65 Fed. Reg. at 41,275

(discussing 1988 rule).

         The 1988 rule faced vast opposition and was also the subject of extensive litigation. The

Supreme Court, by a vote of 5-4, ultimately upheld that rule against certain facial statutory and

constitutional challenges in Rust v. Sullivan, 500 U.S. 173 (1991). But HHS did a “‘volte face’”

just six months later. National Family Planning & Reprod. Health Ass’n v. Sullivan, 979 F.2d

227, 235 (D.C. Cir. 1992). “[R]esponding to widespread concerns that [the 1988 rule] would

interfere with the doctor-patient relationship,” President George H. W. Bush issued a directive to

his HHS Secretary “cutting back significantly on [the rule’s] scope and proscriptions.” Id. at

230, 235. As President Bush described it: “‘[U]nder my directive, … patients and doctors can

talk about absolutely anything they want, and they should be able to do that.’” Id. at 230. But

this recasting of the 1988 rule, done without notice and comment, was limited to doctors; nurses

and others were still prohibited from providing information to patients about abortion. And that

led to additional litigation, which led to an injunction against the rule. See id.

         The 1988 rule was never fully implemented. When President Bill Clinton took office, he

directed his HHS Secretary to suspend the 1988 rule because it “endanger[ed] women’s lives and

health” and “interfer[ed] with the doctor-patient relationship by prohibiting information that

medical professionals are otherwise ethically and legally required to provide to their patients.”

58 Fed. Reg. 7,455 (Feb. 5, 1993). HHS undertook the effort to promulgate new regulations. Id.

         In the meantime, Congress acted to ensure the sanctity of the provider-patient

relationship. The government—Congress has repeatedly made clear—must not interfere with

full and frank communications between medical professionals and their patients, including on



Page 7        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19      Page 16 of 55




abortion. Thus, beginning in 1996 and every year since then, Congress has mandated in Title X

appropriations acts that “all pregnancy counseling” under Title X “shall be nondirective.” Pub.

L. No. 115-245, 132 Stat. 2981, 3070-3071 (2018) (hereinafter, the “Nondirective Mandate”);

Pub. L. No. 104-134, 110 Stat. 1321-221 (1996). As HHS acknowledges in the Final Rule,

nondirective counseling means the “meaningful presentation of options” without “‘suggesting or

advising one option over another.’” 84 Fed. Reg. at 7,716. Consistent with fundamental ethical

principles of the medical profession, such counseling ensures that patients “take an active role in

processing their experiences and identifying the direction of their interaction.” Id.

         In 2000, consistent with Congress’s repeated Nondirective Mandate, HHS issued a rule

that formally eliminated the 1988 rule’s gag and separation requirements, and that requires—

upon a patient’s request—“nondirective counseling” on all pregnancy options. 65 Fed. Reg. at

41,270; 42 C.F.R. § 59.5(a)(5). As HHS explained at the time, “[t]he policies reflected in, and

interpretations reinstituted in conjunction with, the [2000 rule] … have been used by the program

for virtually its entire history; indeed, they have been in effect during the pendency of this

rulemaking.” 65 Fed. Reg. at 41,271. Thus, the 2000 rule reaffirmed that a Title X project must

         (i) Offer pregnant women the opportunity to be provided information and
         counseling regarding each of the following options: (A) Prenatal care and
         delivery; (B) Infant care, foster care, or adoption; and (C) Pregnancy termination.

         (ii) If requested to provide such information and counseling, provide neutral,
         factual information and nondirective counseling on each of the options, and
         referral upon request, except with respect to any option(s) about which the
         pregnant woman indicates she does not wish to receive such information and
         counseling.

42 C.F.R. § 59.5(a)(5) (emphasis added).

         In issuing the 2000 rule, HHS recognized that Congress made clear the importance of the

nondirective counseling mandate. 65 Fed. Reg. at 41,273. HHS further emphasized the



Page 8        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19      Page 17 of 55




importance of ensuring that counseling be governed by what a patient actually wants. “If

projects were to counsel on an option even where a client indicated that she did not want to

consider that option,” HHS warned, “there would be a real question as to whether the counseling

was truly nondirective or whether the client was being steered to choose a particular option.” Id.

         As noted, the 2000 rule also repudiated the 1988 rule’s separation provisions. It

reaffirmed that Title X funds must “be expended solely for the purpose for which the funds were

granted in accordance with … applicable cost principles,” 42 C.F.R. § 59.9, that Title X funds

may not be used to perform abortions, id. § 59.5, and that Title X providers must ensure that

“[n]on-Title X abortion activities … be separate and distinct from Title X projects,” 65 Fed. Reg.

at 41,282. But it did not require that Title X projects be operated out of separate facilities or

employ separate staff from such activities, recognizing that such physical separation

contemplated by the 1988 rule was inconsistent “with the efficient and cost-effective delivery of

family planning services.” 65 Fed. Reg. at 41,276. The 2000 rule expressly authorized the use

of “shared facilities,” “common staff,” and “single file system[s].” 65 Fed. Reg. at 41,282.

         Ten years after the 2000 rule was issued, as part of the Affordable Care Act, Congress

acted again to protect the provider-patient relationship from government interference. Reflecting

the core principles underlying the Nondirective Mandate, Congress declared that HHS

         shall not promulgate any regulation that—(1) creates any unreasonable barriers to
         the ability of individuals to obtain appropriate medical care; (2) impedes timely
         access to health care services; (3) interferes with communications regarding a full
         range of treatment options between the patient and the provider; (4) restricts the
         ability of health care providers to provide full disclosure of all relevant
         information to patients making health care decisions; (5) violates the principles of
         informed consent and the ethical standards of health care professionals; or (6)
         limits the availability of health care treatment for the full duration of a patient’s
         medical needs.

Pub. L. No. 111-148, § 1554, 124 Stat. 259 (codified at 42 U.S.C. § 18114).



Page 9        - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42     Filed 03/21/19     Page 18 of 55




         B.       The Final Rule

         Notwithstanding the success of the Title X program under regulations largely unchanged

for decades, in June 2018, HHS proposed a radical change of course. 83 Fed. Reg. 25,502 (June

1, 2018). Touting the proposed rule at a major anti-abortion organization’s gala, President

Donald Trump underscored one of its obvious purposes—an attack on safe and legal abortion,

which has been an express and unalterable goal of this Administration. “My administration,”

President Trump offered, “has proposed a new rule to prohibit Title 10 funding from going to

any clinic that performs abortions.” Remarks by President Trump at the Susan B. Anthony List

11th Annual Campaign for Life Gala, White House.gov (May 22, 2018); see infra p.21 n.4, p.40.

         That proposal was opposed by virtually every leading health care organization in the

United States, including the AMA and Planned Parenthood. See, e.g., Compl. ¶ 107. Planned

Parenthood warned that the proposal would result in a mass exodus of providers from the Title X

program—including all Planned Parenthood affiliates and numerous States—leaving vast

numbers of patients without access to care. See generally PPFA Comment Ltr. 15-16 (July 31,

2018). The AMA also voiced its strong opposition, explaining that the proposal would

dangerously interfere with the patient-physician relationship and conflict with physicians’ ethical

obligations. See AMA Comment 1-5.

         HHS issued the Final Rule on March 4, 2019, and set an effective date of 60 days later—

May 3. As relevant here, with one exception described below concerning a new speaker-based

ban, HHS largely adopted the proposed rule without material change. As with the proposal, the

Final Rule consists of two central, integrated provisions—the Gag and Separation Requirements.

                  1.        Gag Requirement

         The Final Rule imposes broad restrictions on what health care providers under the Title X

program may inform pregnant patients—even when the patient wants an abortion, and when an

Page 10 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 19 of 55




abortion would be in the patient’s best medical interest. See Compl. ¶¶ 117-135 (describing the

Gag Requirement). First, the Final Rule prohibits providers from making referrals for abortion

while it mandates that providers make referrals for prenatal care. 84 Fed. Reg. at 7,788 (to be

codified at 42 C.F.R. §§ 59.5(a)(5), 59.14(a) (abortion-referral ban)); id. at 7,789 (to be codified

at 42 C.F.R. § 59.14(b)(1) (prenatal referral mandate)). In other words, Title X providers must

not tell pregnant patients how and where they can obtain abortion services safely and legally, but

they must provide that information as to prenatal care.

         The Final Rule touts that Title X providers may provide their patients a “list” of certain

providers, notwithstanding the abortion-referral ban. 84 Fed. Reg. at 7,789 (to be codified at 42

C.F.R. § 59.14(c)(2)). But if anything this list makes things worse. “[W]here a pregnant woman

asks for an abortion or an abortion referral,” id. at 7,761, a Title X provider may only give her—

at most—a list that must include providers who do not provide abortion; must exclude

specialized reproductive health care providers; and must not identify which of the providers

actually provide abortion services, id. at 7,789 (to be codified at 42 C.F.R. § 59.14(c)(2)). The

list must therefore conceal from the patient which providers—if any, see Kost Decl. ¶ 89—would

be willing to provide abortion services, and must not inform the patient about the providers who

would be most likely to offer abortion services.

         The Final Rule provides only a limited exception for abortion referrals in the case of

“emergenc[ies].” The Final Rule purports to allow for “medically necessary” referrals. 84 Fed.

Reg. at 7,788 (to be codified at 42 C.F.R. § 59.5(b)(1)). But such referrals must be “consistent

with § 59.14(a),” id.—under which referrals for abortions are banned—and the Final Rule

otherwise states that only an abortion referral for an “emergency medical situation” would fall




Page 11 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19      Page 20 of 55




outside the “restrictions concerning abortion as a method of family planning,” id. at 7,762. 2

         Second, HHS eliminated the prior settled regulatory requirement that Title X providers

must offer pregnant patients the opportunity to receive nondirective, comprehensive counseling

on their pregnancy options and, if patients so request it, actually provide that counseling. E.g.,

84 Fed. Reg. at 7,716. Instead, under the Final Rule, Title X providers may tell pregnant patients

about only some of their options and may exclude any information about abortion. And even

when a patient says she is only interested in information and counseling on abortion, the Final

Rule requires that practitioners disregard that patient decision; instead, the Final Rule compels

practitioners to speak to the patient about other options she does not want, and, in all instances,

to tell her about the “risks and side effects to both [her] and unborn child.” Id. at 7,747; see id.

(“abortion must not be the only option presented”). Thus, although the Final Rule claims that

this allows certain Title X providers to provide “nondirective” counseling to pregnant patients, in

fact the rule permits nothing of the sort.

         Third, only “physicians or advanced practice providers” may provide what HHS calls

“nondirective” “pregnancy counseling.” 84 Fed. Reg. at 7,789 (to be codified at 42 C.F.R.

§ 59.14(b)(1)(i)). The Final Rule defines “advanced practice providers” (“APPs”) as follows: “a

medical professional who receives at least a graduate level degree in the relevant medical field

and maintains a license to diagnose, treat, and counsel patients.” Id. at 7,787 (to be codified at

42 C.F.R. § 59.2). Thus, under the Final Rule, all medical professionals other than doctors or

APPs are barred from counseling patients about their “pregnancy” options. Among others falling


2
        “[I]n cases involving rape and/or incest,” the Final Rule would prohibit Title X providers
from referring a patient to a specialized reproductive health care provider, instead permitting
only a referral to a “qualified, comprehensive health service provider who also provides
abortion.” 84 Fed. Reg. at 7,747 n.76 (emphasis added).


Page 12 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 21 of 55




within the scope of this ban are registered nurses and health care assistants—vital medical

professionals in the Title X program who regularly and effectively provide this counseling. This

speaker-based ban on speech was nowhere hinted at in the proposed rule. The Final Rule

provides no explanation for it, and does not recognize or attempt to justify the consequences that

would result from it, including increased costs and delays and disruptions in patient care.

                  2.        Separation Requirement

         The Final Rule’s second core provision, the Separation Requirement, imposes onerous

and vague “physical and financial” separation requirements on Title X providers that engage in

so-called “prohibited activities”—defined to include virtually anything having to do with

abortion. See 84 Fed. Reg. at 7,789 (to be codified at 42 C.F.R. § 59.15); Compl. ¶¶ 136-143.

         As discussed, longstanding regulations have required that Title X providers ensure that

“[n]on-Title X abortion activities … be separate and distinct from Title X project activities,”

while expressly authorizing shared facilities, health care records, and personnel. 65 Fed. Reg. at

41,282. Title X providers who also provide abortions with non-Title X funds have participated

in the program since its inception, complying with those requirements. Nonetheless, citing no

evidence of misuse of Title X funds over the past half century, the Final Rule would impose new

and sweeping requirements—mandating entirely separate facilities, separate personnel and

workstations, and separate health care records—on Title X providers that engage in abortion-

related activities. See 84 Fed. Reg. at 7,789 (to be codified at 42 C.F.R. § 59.15). Moreover, the

HHS Secretary is to judge whether a provider complies under a boundless, discretionary standard

of “objective integrity and independence … based on a review of facts and circumstances.” Id.

         The “prohibited activities” are defined by cross-reference to other sections of the rule,

including the Gag Requirement. 84 Fed. Reg. at 7,789 (to be codified at 42 C.F.R. § 59.15).

Those “prohibited activities” include not only the provision of abortion with non-Title X funds,

Page 13 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42        Filed 03/21/19      Page 22 of 55




id. at 7,788 (to be codified at 42 C.F.R. § 59.14(a)), but also abortion referrals, id. at 7,789, or

anything that otherwise “encourage[s], promote[s], or advocate[s]” for abortion, id. (to be

codified at 42 C.F.R. § 59.16)—and going so far as to reach abortion-related “brochures …

sitting on a table … within the same space where Title X services are provided,” id. at 7,790 (to

be codified at § 59.16(b)(1)).

III.     LEGAL STANDARD

         “A plaintiff seeking a preliminary injunction must establish: (1) likelihood of success on

the merits; (2) irreparable harm in the absence of preliminary relief; (3) the balance of equities

tips in his favor; and (4) an injunction is in the public interest.” Cascadia Wildlands v. Carlton,

341 F. Supp. 3d 1195, 1199 (D. Or. 2018) (McShane, J.); see, e.g., Vivid Entm’t, LLC v.

Fielding, 774 F.3d 566, 577 (9th Cir. 2014). “‘[A] stronger showing of one element may offset a

weaker showing of another.’” Recycle for Change v. City of Oakland, 856 F.3d 666, 669 (9th

Cir. 2017). A preliminary injunction is thus warranted when the plaintiff raises only “serious

questions” on the merits if “the balance of hardships tips sharply in [the plaintiff’s] favor.”

Puente Ariz. v. Arpaio, 821 F.3d 1098, 1103 n.4 (9th Cir. 2016).

         Plaintiffs challenge the Final Rule under the Administrative Procedure Act. The APA

requires a court to “hold unlawful and set aside agency action” found to be arbitrary, capricious,

contrary to law or constitutional right, or adopted without proper procedure. 5 U.S.C. § 706(2).

The “arbitrary [or] capricious” standard “ensur[es] that agencies have engaged in reasoned

decisionmaking.” Judulang v. Holder, 565 U.S. 42, 52-53 (2011). Agencies fail to do so when,

for example, they “entirely fail[] to consider an important aspect of the problem” or “offer[] an

explanation … that runs counter to the evidence before the agency.” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983); see Occupy Eugene v. U.S.

Gen. Servs. Admin., 43 F. Supp. 3d 1143, 1148-1149 (D. Or. 2014) (McShane, J).

Page 14 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42    Filed 03/21/19      Page 23 of 55




IV.      ARGUMENT

         A.       Plaintiffs Are Likely To Succeed On The Merits

                  1.        The Gag Requirement’s Restrictions On Pregnancy Counseling Are
                            Unlawful

         Through the Gag Requirement, the Final Rule imposes a content-based and viewpoint-

based gag on speech that would require that practitioners in the Title X program direct pregnant

women toward continuing a pregnancy to term—regardless of what a patient actually wants.

Those restrictions contravene federal law and are arbitrary and capricious.

                            a.    The Gag Requirement is contrary to federal law

         i. The Nondirective Mandate and the “voluntary” requirement in Title X. The

Nondirective Mandate—enacted by Congress every year since 1996—requires that pregnancy

counseling by Title X projects be “nondirective.” E.g., Pub. L. No. 115-245, 132 Stat. 2981,

3070-3071 (2018). It is established that Congress can legislate through appropriations

enactments, see, e.g., Robertson v. Seattle Audubon Soc’y, 503 U.S. 429, 440 (1992), and HHS

concedes—as it must—that it is bound by this mandate, e.g., 84 Fed. Reg. at 7,725. HHS further

concedes that this mandate requires the presentation of all medically appropriate options without

“‘suggesting or advising one option over another.’” Id. at 7,716. In HHS’s own words, this

mandate seeks to ensure that patients “take an active role in processing their experiences and

identifying the direction of the interaction,” thereby “promot[ing] the [patient’s] self-awareness

and empower[ing] the [patient] to be informed about a range of options.” Id.

         The Nondirective Mandate fits hand in glove with the related statutory requirement that

Title X services be “strictly voluntary” and “never … coercive.” 84 Fed. Reg. at 7,731. As HHS

previously warned, if projects were to disregard patient decisions about their health care and, for

example, provide information that the patient does not want or need, “there would be a real


Page 15 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42     Filed 03/21/19     Page 24 of 55




question as to whether the counseling was truly nondirective or whether the client was being

steered to choose a particular option.” 65 Fed. Reg. at 41,273.

         The Gag Requirement would turn this settled statutory scheme on its head. It would

force Title X projects to steer women away from one particular option, abortion, while directing

them toward another option, carrying the pregnancy to term. It would do so by banning referrals

for abortions while mandating referrals for prenatal care, regardless of what a patient actually

wants. That is a paradigmatic example of directive and coercive counseling. See, e.g., Ewing

Decl. ¶ 30; Madara Decl. ¶ 26; Williams Decl. ¶¶ 3, 11-12; Megregian Decl. ¶ 29; Kost Decl.

¶ 91; 65 Fed. Reg. at 41,275 (“requiring a referral for prenatal care … where the client rejected

th[at] option[] would seem coercive and inconsistent with the concerns underlying the

‘nondirective’ counseling requirement”). In clear contravention of both the Nondirective

Mandate and Title X’s “voluntary” requirements, HHS would force patients to involuntarily

receive information they do not want.

         The Gag Requirement would also bless biased and incomplete pregnancy counseling.

See supra p.12. Specifically, it would authorize Title X providers to tell pregnant patients about

only some of their options and exclude any information about abortion. In practical terms, this

means that when a pregnant patient sees her Title X provider, that provider can tell her she has

two options: carrying to term or adoption—and limit the information offered and provided to

those two. And it would further compel speech from those Title X providers that would counsel

on abortion upon a patient’s request. See id. In particular, for those providers who would,

consistent with the standard of care and their ethical and professional obligations, counsel on

abortion when a patient requests it, the Final Rule would compel them to speak on other options

even if the patient does not want to hear about them and thus violates their professional and



Page 16 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 25 of 55




ethical responsibilities. The Gag Requirement warns that “abortion must not be the only option

presented” and that, in all instances, practitioners must tell pregnant patients—even those

interested only in an abortion—about the “risks and side effects to both [her] and unborn child.”

84 Fed. Reg. at 7,747. Excluding any discussion of a medical option, and providing information

about an option that a patient does not want, are the opposite of what is required by law—

patient-driven voluntary, nondirective counseling. See, e.g., Ewing Decl. ¶ 40; 65 Fed. Reg. at

41,273 (“removing an option from the client’s consideration necessarily steers her toward the

options presented and is a directive form of counseling”).

         Finally, HHS touts that the Final Rule authorizes a so-called “list” that a practitioner may

give to her patients. If anything, this list makes things worse. It is incomplete, misleading, and

again directive. As HHS envisions it, a Title X provider would provide this list “where a

pregnant woman asks for an abortion or an abortion referral.” 84 Fed. Reg. at 7,761. But this

list must include providers who do not provide abortion, must not identify which if any providers

actually provide abortion, and could include no abortion providers whatsoever—in particular, it

must not include the specialized reproductive health care providers who are most likely to

provide abortions. See supra p.11. The only apparent purpose is to direct pregnant patients

away from abortion and toward continuing a pregnancy to term.

         ii. Section 18114. For similar reasons, these restrictions also violate Congress’s

prohibitions in 42 U.S.C. § 18114 against “any” HHS regulation that interferes with the

provider-patient relationship or creates unreasonable barriers to appropriate medical care. See

supra p.9 (quoting § 18114).

         The Final Rule directly interferes with the provider-patient relationship by dictating what

a provider may and may not say to her patient about her pregnancy options. By doing so, the



Page 17 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19     Page 26 of 55




Final Rule necessarily “interferes with communications regarding a full range of treatment

options between the patient and the provider” and “restricts the ability of health care providers to

provide full disclosure of all relevant information to patients making health care decisions.” 42

U.S.C. § 18114(3), (4) (emphasis added). Furthermore, by prohibiting Title X projects from

providing information about where a pregnant patient can obtain abortion services, the Gag

Requirement will also delay and disrupt Title X patients’ care, thereby “creat[ing] …

unreasonable barriers to [patients’] ability … to obtain appropriate medical care” and

“imped[ing] timely access to health care services.” Id. § 18114(1), (2); see Ewing Decl. ¶ 34;

Megregian Decl. ¶ 42; Brindis Decl. ¶¶ 16, 23-26; Kost Decl. ¶¶ 92-95, 123. And the Final Rule

permits Title X providers to misrepresent a pregnant patient’s treatment options by excluding

any information about abortion—in other words, presenting the opportunity to hear only about

prenatal care and adoption—thus misleading pregnant women into thinking that abortion is not a

medically appropriate option even when it is. The rule would thus create an unreasonable barrier

to care, impede timely access to medical care, and “deny[] patients necessary information to

appropriately compare the safety of their medical options,” Guttmacher Institute Comment Ltr. 8

(July 31, 2018), thus “violat[ing] the principles of informed consent,” 42 U.S.C. § 18114(5).

         The Gag Requirement also contravenes “the ethical standards of health care

professionals,” 42 U.S.C. § 18114(5), by prohibiting Title X projects from providing patients

with information about abortion. The AMA’s Code of Ethics states that medical professionals

must “[p]resent relevant information accurately and sensitively, in keeping with the patient’s

preferences,” and that “withholding information without the patient’s knowledge or consent is

ethically unacceptable.” AMA, Code of Medical Ethics §§ 2.1.1(b), 2.1.3 (2016); see AMA

Comment 3; see PPFA Comment 11; Madara Decl. ¶ 17; Kost Decl. ¶¶ 85, 91; Ewing Decl. ¶ 16;



Page 18 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC            Document 42    Filed 03/21/19     Page 27 of 55




see also Williams Decl. ¶¶ 11-12. It further provides that patients have the right “[t]o receive

information from their physicians and to have opportunity to discuss the benefits, risks, and costs

of appropriate treatment alternatives.” AMA, Code of Medical Ethics Opinion E-1.1.3(b);

accord AMA Comment 3; Madara Decl. ¶ 18. Rules of ethics that govern other health care

professionals are to the same effect. 3

         HHS does not dispute the substance or relevance of these ethical rules. The Final Rule

itself acknowledges the critical importance of “open communication” between a Title X patient

and her or his health care professional, which “fosters better over-all care for patients.” 84 Fed.

Reg. at 7,783. HHS further acknowledges that “medical ethics obligations require the medical

professional to share full and accurate information with the patient, in response to her specific

medical condition and circumstance.” Id. at 7,724. Yet the Gag Requirement does the

opposite—compelling professionals to violate the duties HHS acknowledges by withholding

relevant information and misrepresenting patient options. See, e.g., Madara Decl. ¶¶ 10-24;

Williams Decl. ¶¶ 11-12; Black Decl. ¶¶ 37-38; Atkinson Decl. ¶ 6; Kost Decl. ¶¶ 26, 108.

         iii. HHS’s few legal justifications for the Gag Requirement are unavailing. HHS relies

on federal refusal laws, see, e.g., 84 Fed. Reg. at 7,716, but they provide the agency no support.

The Coats/Snowe and Weldon Amendments prohibit certain government agencies from

“discriminati[ng]” against health care entities that object to abortion. 42 U.S.C. § 238n(a); Pub.

L. No. 114-113, Div. H, § 507(d), 129 Stat. 2242, 2649 (2015). The Church Amendment


3
        See, e.g., American Academy of Nursing Comment Ltr. 4 (July 26, 2018) (“[T]he Code
of Ethics for Nurses stipulates that patients have the right ‘to be given accurate, complete, and
understandable information in a manner that facilitates an informed decision.’” (quoting Code of
Ethics for Nurses § 1.4)); Association of Women’s Health, Obstetric and Neonatal Nurses
Comment Ltr. 2 (July 31, 2018) (“[T]he prohibition on abortion referrals contravenes medical
ethics[.]”).


Page 19 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42        Filed 03/21/19     Page 28 of 55




prohibits public officials from “requir[ing]” individuals or entities “to perform or assist in the

performance of … abortion” or discriminating against individuals with religious or moral

objections to abortion. 42 U.S.C. § 300a-7. To the extent any of those provisions have any

application at all in the context of Title X, none of them would justify a regulation prohibiting

Title X projects from referring for abortion.

         The government also repeatedly invokes the Supreme Court’s decision in Rust v.

Sullivan. But that decision cannot save the Final Rule because this case is controlled by a

statutory structure that Congress put in place after Rust. See supra pp.8-9, 15, 17. Congress’s

intent is clear: All pregnancy counseling under Title X must be nondirective, and HHS may not

interfere with full and frank communications between medical provider and patient.

                            b.   The Gag Requirement is arbitrary and capricious

         The Gag Requirement should also be set aside because it is arbitrary and capricious.

HHS failed to consider numerous grave problems that were emphasized in comments on the

proposed rule. See, e.g., State Farm, 463 U.S. at 42.

         Above all, HHS fails to account for the fact that the Gag Requirement contravenes the

ethical and professional commitments of doctors, nurses, and other health care professionals and,

as a result, will force Title X providers to withdraw from the program. See PPFA Comment 15-

16; NFPRHA Comment Ltr. 4 (July 31, 2018); Custer Decl. ¶ 77. As Planned Parenthood

warned, all of its member affiliates would be forced to exit Title X if the Gag Requirement takes

effect. PPFA Comment 15-16; Custer Decl. ¶ 77. Among state grantees, Hawaii, Oregon, New

York, and Washington, which together serve over 400,000 Title X patients, have also all stated

that they would be forced to leave the program. See PPFA Comment 15. Other providers may

well leave the program as well. See Kost Decl. ¶¶ 108-110.

         That exodus will have grave public health consequences. Forcing those providers out of

Page 20 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19      Page 29 of 55




the program will result in massive disruption and will inevitably hurt patients by making it more

difficult for them to obtain affordable, high-quality care. See PPFA Comment 15-16, 33, 55;

Brindis Comment Ltr. 3 (July 31, 2018); Kost Decl. ¶ 112. The providers that would continue to

participate in Title X will be unable to absorb all of the patients of those that leave the program.

See Guttmacher Comment 20; Brindis Decl. ¶¶ 35-37; Kost Decl. ¶¶ 79-80, 109-112. And even

if new Title X providers could somehow fill the gap—which is highly unlikely and supported by

nothing in the Final Rule—there would be a harmful and costly disruption in care. PPFA

Comment 15-16; Guttmacher Comment 10; WA, OR, VT, MA AGs Comment Ltr. 24-26 (July

31, 2018); NFPRHA Comment 33. Moreover, as entities like Planned Parenthood lose Title X

funds, they will be forced to close clinics that serve a broad array of patients, including those

eligible for Medicaid and others not receiving Title X services. See PPFA Comment 15-17.

That reduction in service will impede the ability of non-Title X patients to obtain high-quality

reproductive health care. See PPFA Comment 15-20; WA, OR, VT, MA AGs Comment 23-26.

         HHS said virtually nothing about the decimation of the program caused directly by the

Gag Requirement—including the consequences of losing a provider, Planned Parenthood,

serving approximately 40% of the program. 4 Rather, ignoring the administrative record, HHS




4
        Indeed, the Final Rule is part of the Trump Administration’s longstanding objective to
drive Planned Parenthood out of the Title X program. For example, this Administration’s most
recent budget, released just four days ago, seeks to bar Planned Parenthood from receiving any
Title X funds because it “performs … abortions” outside the Title X program. U.S. Gov’t, The
Budget for Fiscal Year 2020 767-768 § 525; see also, e.g., Greenwood, Trump: Planned
Parenthood Cuts Will Come “At the Appropriate Time,” The Hill, May 2, 2017; Haberman,
Trump Tells Planned Parenthood Its Funding Can Stay If Abortion Goes, N.Y. Times, Mar. 6,
2017; Paquette, Donald Trump’s Incredibly Bizarre Relationship with Planned Parenthood,
Wash. Post., Mar 2, 2016; Senator Patty Murray Ltr. to U.S. Senate Committee on Health,
Education, Labor, and Pensions, at 2 (July 5, 2018) (describing efforts of defendant Dr. Foley “to
spread misinformation, undermine women’s access to basic health care services, and roll back


Page 21 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19      Page 30 of 55




asserted its belief that “these final rules will contribute to more clients being served, gaps in

service being closed, and improved client care.” 84 Fed. Reg. at 7,723. That claim is not only

“counter to the evidence before the agency” but is “so implausible that it could not be ascribed to

a difference in view or the product of agency expertise,” State Farm, 463 U.S. at 43. 5

         HHS also failed to engage in any serious analysis of the impact of the Final Rule on

patients and their health care. For example, if Title X providers are barred from providing

referrals for abortion or are permitted to provide counseling that steers patients away from

abortion, patients who want or need to terminate their pregnancy will face delays and disruptions

in care and a resulting increased risk of complications from an abortion, see PPFA Comment 14,

20-21; Kost Decl. ¶¶ 73, 123, as well as an increased risk that the pregnancy will cause or

exacerbate other medical conditions, see EAH Comment Ltr. 4 (July 30, 2018); Brindis Decl. ¶¶

22-25. Some patients may be deterred or prevented from obtaining an abortion altogether, which

can jeopardize a woman’s health, including by “obstructing pregnant patients with complicating

medical conditions from obtaining potentially life-saving abortions.” Guttmacher Comment 8.

         HHS ignored these health costs and risks and instead simply assumed away the problem,

declaring “[i]nformation about abortion and abortion providers is widely available and easily

accessible, including on the internet.” 84 Fed. Reg. at 7,746. That is an astonishing conclusion

for an agency charged with implementing a program specifically designed to reach patients with

limited means and to educate them about their options. As the comments explained, many


women’s reproductive rights”); Memo. to Sen. Murray Ltr. 3 (July 5, 2018) (detailing examples
where Dr. Foley has demonstrated she “is vehemently anti-abortion”).
5
        HHS relied on only one single letter as supposed evidence of the existence of providers,
specifically “faith-based medical professionals,” that might be able to fill gaps in services. See
84 Fed. Reg. at 7,780. And not even that one letter supports HHS’s position. See, e.g., Kost
Decl. ¶ 79.


Page 22 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC        Document 42       Filed 03/21/19     Page 31 of 55




patients of limited means have “low ‘health literacy,’ meaning the knowledge and ability to

navigate the health care system,” and “[s]ome patients also lack regular access to

communications tools (e.g., internet, phone) that are needed to access and research information

on their own.” Ryan Health Comment Ltr. 3 (July 31, 2018).

         HHS stated that it was “not aware, either from its own sources or from commenters, of

actual data that could demonstrate a causal connection between the type of changes to Title X

regulations contemplated in this rulemaking and an increase in unintended pregnancies, births, or

costs associated with either.” 84 Fed. Reg. at 7,775. That statement, again, ignores the record.

The likely consequences, based on prior experience, were detailed in comments on the proposed

rule. See, e.g., Brindis Comment 6-7, 12; Brindis Decl. ¶¶ 31, 47; Kost Decl. ¶¶ 119-122

         For example, one expert commenter (and a declarant here) detailed that, when Planned

Parenthood was forced to close a clinic in rural Indiana due to cuts to public-health funding,

there was a huge spike in the spread of HIV in the area. Brindis Comment 6-7. Similarly, when

the State of Texas cut back family-planning funding and denied funds to Planned Parenthood,

there was “a 35% decline in women using the most effective methods of family planning and a

27% increase in births among women who had been using … injectable contraceptive methods

prior to Texas’s restrictions.” Brindis Comment 12. Evidence before the agency also showed

that, in 2010, the $2.2 billion in public funds spent on family planning and related sexual and

reproductive health services were estimated to have averted approximately 2.2 million

unintended pregnancies as well as other adverse health outcomes. Id. at 12. The estimated

public costs associated with those unintended pregnancies, had they not been averted, would

have been $15.8 billion—virtually all of which ($15.2 billion) would be “attributable to publicly

covered maternity and child health care.” Id. at 12-13; see also, e.g., PPFA Comment 19.



Page 23 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 32 of 55




         The Gag Requirement also flouts the agency’s own evidence-based clinical

recommendations. See AMA Comment 3; PPFA Comment 13; ACOG Comment Ltr. 8 (July 31,

2018); NFPRHA Comment 6; Ewing Decl. ¶ 32; Megregian Decl. ¶ 30; Kost Decl. ¶¶ 22-28, 73,

85. Guidelines issued by HHS and the CDC in 2014 state that when a health care provider tells a

patient that she is pregnant, the provider should provide “[o]ptions counseling … in accordance

with the recommendations from professional medical associations, such as ACOG and AAP,”

and discuss “appropriate referrals” with the patient. CDC, Providing Quality Family Planning

Services 14 (2014). The process of developing the agency’s recommendations was rigorous and

based on the effectiveness of services. See id. at 3. It constitutes a body of objective, research-

based practices that HHS cannot ignore. “An agency conclusion that is in ‘direct conflict with

the conclusion of its own experts’ … is arbitrary and capricious.” Natural Res. Def. Council,

Inc. v. Pritzker, 828 F.3d 1125, 1139 (9th Cir. 2016).

         At bottom, HHS’s failure to account for the numerous problems and costs identified by

the commenters underscores yet another flaw with the Final Rule: It is the product of

Defendants’ prejudgment and “unalterably closed mind,” not a process intended to solicit and

incorporate feedback from interested parties. See Alaska Factory Trawler Ass’n v. Baldridge,

831 F.2d 1456, 1467 (9th Cir. 1987); Habeas Corpus Res. Ctr. v. DOJ, 2009 WL 185423, at *9

(N.D. Cal. Jan. 20, 2009); supra pp.10, 21 n.4; infra p.40.

                  2.        The Gag Requirement’s Speaker-Based Ban On Who Can Provide
                            Pregnancy Counseling Is Unlawful

         In addition to its restrictions on the content of information that Title X providers may

provide their patients, the Final Rule imposes a speaker-based ban on who may provide

“pregnancy counseling” on abortion or otherwise. Only “physicians or advanced practice

providers” may provide such counseling. 84 Fed. Reg. at 7,787, 7,789 (to be codified at 42


Page 24 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19     Page 33 of 55




C.F.R. § 59.2, 59.14(b)(1)(i)). APPs are defined, by the Final Rule, as medical professionals

who have “at least a graduate level degree in the relevant medical field and maintain[] a license

to diagnose, treat, and counsel patients.” Id. This speaker-based ban must be set aside because it

was promulgated without notice and comment, as the APA requires. It is also contrary to federal

law and arbitrary and capricious.

                            a.   The speaker-based ban was promulgated without proper
                                 procedure

         The APA requires an agency to provide the public with notice and an opportunity to

comment before promulgating a rule. 5 U.S.C. § 553(b)-(c). Although a final rule issued by the

agency “need not be identical” to that proposed in the notice, the final rule “must be a logical

outgrowth of the proposed rule” so that “interested parties reasonably could have anticipated the

final rulemaking.” Natural Res. Def. Council v. EPA, 279 F.3d 1180, 1186 (9th Cir. 2002). A

final rule is a logical outgrowth of a proposed rule if the agency “expressly ask[s] for comments

on a particular issue or otherwise ma[kes] clear that the agency [is] contemplating a particular

change.” CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1081 (D.C. Cir. 2009).

         Nowhere in the proposal did HHS ask for comments on whether practitioners other than

physicians or APPs should be prohibited from counseling patients on their “pregnancy” options.

Nor did HHS suggest that it was contemplating limiting pregnancy counseling to providers with

any particular qualifications. The agency’s newly issued restriction was therefore not a logical

outgrowth of the proposed rule. See CSX Transp., 584 F.3d at 1082; Natural Res. Def. Council,

279 F.3d at 1187-1188. Moreover, had they known that HHS was considering such a restriction,

commenters would have made clear that the ban is contrary to longstanding medical practice and

would have significant negative consequences for patients. Those consequences include delays

and disruptions in care for patients, unnecessary burdens on doctors and APPs, and increased


Page 25 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42      Filed 03/21/19      Page 34 of 55




costs for providers. See, e.g., Kost Decl. ¶ 86; Gardner Decl. ¶¶ 46-48; Atkinson Decl. ¶¶ 45-46;

Black Decl. ¶ 41; Madara Decl. ¶ 28; infra p.28. Because the public had no opportunity to

comment on the agency’s new speaker-based ban, it should be set aside. See 5 U.S.C.

§ 706(2)(D). 6

                            b.   The speaker-based ban is contrary to federal law

         The speaker-based ban also violates 42 U.S.C. § 18114 by imposing an unreasonable

barrier to a patient’s ability to access health care. Medical staff without advanced degrees—such

as registered nurses, nurse assistants, and health care assistants—routinely deliver critical Title X

care, including nondirective pregnancy counseling. PPFA Comment at 14-15; American

Academy of Nursing Comment 3; Gardner Decl. ¶¶ 46-48; Atkinson Decl. ¶ 15; Black Decl. ¶¶

31-32; Kost Decl. ¶ 86. HHS itself has recognized the important role that practitioners without

graduate degrees play in providing family planning care, including by providing “client

education, counseling, [and] referral” to Title X patients. Office of Population Affairs, Title X

Family Planning Annual Report: 2017 National Summary, at 4 (August 2018) (“Title X Annual

Report”). As just discussed, restricting which health care professionals may counsel pregnant

patients would raise the cost of providing such care, reduce the number of patients with those

needs who could be served, and create delays and disruptions in care. See also infra p.28. Thus,

because it increases costs, reduces access, and produces delays, the staffing restriction “creates

… [an] unreasonable barrier[] to [patients’] ability … to obtain appropriate medical care” and

6
        At most, the proposed rule vaguely suggested that HHS was considering prohibiting any
Title X project from providing nondirective counseling on abortion, with a possible exception
for doctors. See 83 Fed. Reg. at 25,507, 25,518; but see id. at 25,530 (proposed § 59.5(a)(5))
(containing no exception to the prohibition on “present[ing] abortion”). But it nowhere hinted
that HHS might restrict who would be allowed to provide “pregnancy counseling.” Moreover,
the proposed rule’s repeated reference to changes regarding nondirective counseling on abortion
implied that HHS would not restrict the provision of other pregnancy counseling.


Page 26 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42      Filed 03/21/19     Page 35 of 55




“impedes timely access to health care services.” 42 U.S.C. § 18114(1), (2).

                            c.   The speaker-based ban is arbitrary and capricious

         The speaker-based ban also lacks any justification—which is not surprising since the

agency did not mention it in the proposed rule. HHS imposed this restriction with no discussion

of how or why it drew the line between those who may counsel patients on pregnancy options

and those who may not. That alone dooms the rule. See, e.g., State Farm, 463 U.S. at 43.

         Moreover, this ban “runs counter to the evidence before the agency,” and HHS has

“entirely failed to consider an important aspect of the problem.” State Farm, 463 U.S. at 43.

The record before the agency shows that non-APPs “were involved with 1.7 million Title X

family planning encounters in 2016”—more than a quarter of all family-planning encounters in

that year. 84 Fed. Reg. at 7,778. And, as already mentioned, HHS has recognized that those

health care professionals provide essential client education and counseling. Title X Annual

Report 4. Yet HHS did not consider the substantial costs associated with requiring that all

pregnancy counseling now be provided by physicians or APPs, or the negative effects such a ban

would have on a Title X project’s ability to provide timely counseling to pregnant women.

Many providers, including Planned Parenthood, rely on skilled non-APPs to provide the majority

of nondirective pregnancy counseling to patients under Title X. See Atkinson Decl. ¶ 35; Black

Decl. ¶ 31; Gardner Decl. ¶¶ 46-48; Madara Decl. ¶ 28. If HHS’s restriction takes effect,

patients will face delays and disruptions in care, resulting in worse health outcomes. See, e.g.,

Atkinson Decl. ¶ 45. Yet, as the record shows, “time is of the essence for pregnant patients” who

must often choose whether to continue or terminate a pregnancy in a short window of time.

National Health Law Program Comment Ltr. 9 (July 31, 2018).

         This restriction is also contrary to best medical practices. According to a study supported

by HHS, when doctors, nurses, and staff work at the “top of their license,” meaning they work to

Page 27 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42     Filed 03/21/19     Page 36 of 55




the full extent of their education and training, health outcomes improve and health centers are

able to see almost double the number of patients. See, e.g., Goldberg et al., Team Based Care: A

Critical Element of Primary Care Practice Transformation, 16 Pop. Health Mgmt. 3, 153 (2013).

Requiring doctors and APPs to provide all pregnancy counseling, however, requires those

professionals to perform duties that other health care professionals could undertake—imposing

unjustified costs and consequences on patients, providers, and practitioners. See, e.g., Ewing

Decl. ¶¶ 48-50; Megregian Decl. ¶ 48; Gardner Decl. ¶ 47.

         The speaker-based ban appears designed, in conjunction with the rest of the Gag

Requirement, to suppress truly nondirective pregnancy counseling—in particular, counseling that

includes informing pregnant women about all their options, including the option of abortion

under Title X. This ban would thus require unworkable, unnecessary, and harmful shifts in the

Title X program, to the detriment of providers and patients.

                  3.        The Gag Requirement Is Unconstitutional

         The First Amendment protects both Plaintiffs’ right to communicate with their patients

and their patients’ right to hear from their providers about their medical options, including the

option for an abortion where that is consistent with the patient’s wishes or medical needs. HHS,

however, would unconstitutionally impose content- and viewpoint-based restrictions, compel

speech, and even ban an entire category of medical professionals from speaking at all.

         Plaintiffs recognize that Rust rejected a First Amendment challenge to a prior version of

the Gag Requirement, but that decision was wrongly decided. Moreover, as described below,

Rust has been undermined by nearly 30 years of experience with the Title X program and recent

Supreme Court precedent confirming that medical speech is deserving of First Amendment

protection of the highest order. But Plaintiffs also recognize the Supreme Court’s repeated

admonition that lower courts must leave to the Supreme Court “‘the prerogative of overruling its

Page 28 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42        Filed 03/21/19     Page 37 of 55




own decisions.’” Tenet v. Doe, 544 U.S. 1, 11 (2005); United States v. Ye, 808 F.3d 395, 399 n.2

(9th Cir. 2015).

         Just last year, the Supreme Court struck down a law that required certain clinics primarily

serving pregnant women to “provide a government-drafted script about the availability of state-

sponsored services, as well as contact information for how to obtain them.” NIFLA, 138 S. Ct. at

2371. The Supreme Court rejected the argument that restrictions on “professional speech”—

including that of medical professionals and others—receive a reduced degree of First

Amendment protection. To the contrary, the Court emphasized, “[d]octors help patients make

deeply personal decisions, and their candor is crucial.” Id. at 2374. Moreover, the Court

warned: “Throughout history, governments have ‘manipulat[ed] the content of doctor-patient

discourse’ to increase state power and suppress minorities[.]’” Id. (quoting Berg, Toward a First

Amendment Theory of Doctor-Patient Discourse and the Right to Receive Unbiased Medical

Advice, 74 B. U. L. Rev. 201, 201-202 (1994)).

         The Final Rule is designed to “‘manipulate[] the content of doctor-patient discourse.’”

NIFLA, 138 S. Ct. at 2374. Moreover, it is content-based, targeting and banning abortion

referrals. See id. at 2371 (“Content-based regulations ‘target speech based on its communicative

content.’”). Indeed, it is “a paradigmatic example” of a viewpoint-based regulation because it

“seeks to impose its own message in the place of individual speech, thought, and expression.”

Id. at 2379 (Kennedy, J., concurring). Its prohibitions and mandates disfavor speech about one

medical option over the other—against abortion and in favor of continuing a pregnancy to term.

         Moreover, the Final Rule compels speech from medical professionals in several ways,

even when it is against their professional or ethical obligations and contrary to their patient’s

wishes. It mandates that medical professionals provide prenatal referrals. And even when a



Page 29 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19     Page 38 of 55




pregnant patient says she is only interested in abortion, it further mandates that professionals

speak about other options she does not want and mandates that they tell her about the “risks and

side effects to both [her] and unborn child.” 84 Fed. Reg. at 7,747; see Janus v. American Fed’n

of State, Cty. & Mun. Emps., Council 31, 138 S. Ct. 2448, 2464 (2018) (“When speech is

compelled … additional damage is done.”). For all these reasons, the Final Rule is

“‘presumptively unconstitutional,’” NIFLA, 138 S. Ct. at 2371, and comes nowhere near

identifying any compelling state interest or narrow tailoring, see supra pp.20-24.

         The majority in Rust acknowledged that the constitutional challenges to the 1988 rule

were “not … without some force.” 500 U.S. at 191. And it further recognized that “[i]t could be

argued … that traditional relationships such as that between doctor and patient should enjoy

protection under the First Amendment from Government regulation, even when subsidized by

the Government.” Id. at 200. But it reserved that question for two reasons. First, the Court

concluded, nothing in the 1988 rules “require[d] a doctor to represent as his own any opinion that

he does not in fact hold.” Id. Second, “the doctor-patient relationship established by the Title X

program” was not “sufficiently all encompassing so as to justify an expectation on the part of the

patient of comprehensive medical advice.” Id.

         That question is ripe for revisiting by the Supreme Court, and both of those conclusions

are infirm. The former is inconsistent with NIFLA. And the latter “misunderstood the dynamics

of doctor-patient interaction, and as a result, … the danger that patients will be coerced and

confused by government messages delivered by physicians.” Berg, 74 B.U. L. Rev. at 206, cited

in NIFLA, 138 S. Ct. at 2374. Rust also failed to appreciate that restrictions on the provider-

patient discourse infringe two First Amendment rights—not only that of medical professionals to

speak, but also a patient’s right to receive information they need to make personal choices about



Page 30 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42       Filed 03/21/19     Page 39 of 55




their medical treatment. See Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer

Council, Inc., 425 U.S. 748, 757 (1976) (“freedom of speech ‘necessarily protects the right to

receive’”). 7

         Finally, the Gag Requirement also imposes a speaker-based ban, one not at issue in Rust.

The Supreme Court’s precedents, NIFLA recently reaffirmed, “are deeply skeptical of laws that

‘distinguis[h] among different speakers, allowing speech by some but not others.’” 138 S. Ct. at

2378. “Speaker-based laws,” NIFLA further warned, “run the risk that ‘the State has left

unburdened those speakers whose messages are in accord with its own views.’” Id. Here,

without hint of explanation, HHS would ban all non-APPs from providing nondirective

counseling on abortion and other pregnancy options. As discussed, the apparent purpose of this

ban is to ensure that nondirective pregnancy counseling—specifically, counseling on abortion—

is essentially unavailable. Cf. id. at 2378 (striking down “the ‘detail required’ by the unlicensed

notice ‘effectively rules out’ the possibility of having such a billboard in the first place”).

                  4.        The Separation Requirement Is Unlawful

         Through its second central provision, the Separation Requirement, the Final Rule

imposes onerous and vague “physical and financial” separation requirements on Title X

providers that engage in so-called “prohibited activities.” Those “prohibited activities” include

not only the provision of abortion with non-Title X funds, but also abortion referrals, anything

7
         Moreover, Rust, as interpreted by later cases, turned on the conclusion that the Title X
program was merely a vehicle for government speech. See Rosenberger v. Rector & Visitors of
Univ. of Va., 515 U.S. 819, 833 (1995). That conclusion is also infirm. See Legal Servs. Corp.
v. Velazquez, 531 U.S. 533, 554 (2001) (Scalia, J., dissenting) (“If the private doctors’
confidential advice to their patients at issue in Rust constituted ‘government speech,’ it is hard to
imagine what subsidized speech would not be government speech.”). Title X’s purpose is to
facilitate access to comprehensive family-planning services for all who desire them. If that were
in doubt, Congress’s enactments post Rust confirm that Title X is patient centered and patient
driven, where open and candid nondirective communication is the vital operating principle.


Page 31 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19      Page 40 of 55




that otherwise encourages, promotes, or advocates for abortion—and going so far as to reach

abortion-related brochures sitting on table. See supra pp.13-14.

         Under the Final Rule, Title X providers who engage in such “prohibited activities” must

comply with new and sweeping requirements—in form and effect, complete and unnecessary

duplication of facilities, personnel, and records systems. In particular, they must “physically”

separate their Title X projects from those “prohibited activities,” including by creating

“separat[e] … facilities,” “separate personnel … and workstations,” and “separate … health care

records,” 84 Fed. Reg. at 7,789. And the Final Rule emphasizes that all of those elements are

required, and even that might still be insufficient under the vague, discretionary standard resting

with the HHS Secretary. See, e.g., id. at 7,725 (“preclude shared physical space and staff”). The

Separation Requirement would harm patient care and impose large and unnecessary costs on

Title X providers, if compliance is even possible. It is contrary to federal law and arbitrary and

capricious.

                            a.   The Separation Requirement is contrary to federal law

         The Separation Requirement contravenes 42 U.S.C. § 18114. As explained above, that

provision—enacted as part of the Affordable Care Act to ensure that HHS would not impose

unjustified barriers to care or burden the provider-patient relationship—prohibits HHS from

promulgating “any regulation” that “creates any unreasonable barriers to the ability of

individuals to obtain appropriate medical care,” “impedes timely access to health care services,”

or “limits the availability of health care treatment for the full duration of a patient’s medical

needs.” Id. § 18114(1), (3), (6). The Separation Requirement, however, will have exactly those

forbidden effects.

         First, the Separation Requirement will force many Title X providers out of the program.

As a direct result, their patients will suffer grave health care consequences—precisely the

Page 32 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42        Filed 03/21/19     Page 41 of 55




consequences that § 18114 was enacted to prevent.

         As the record shows, the Separation Requirement will force many Title X providers who

engage in any abortion-related activities even with separate funds outside the Title X program—

including referrals for abortion—to leave the Title X program because the Final Rule’s

Separation Requirement is unworkable and cost-prohibitive. See PPFA Comment 33;

Guttmacher Comment 9; Atkinson Decl. ¶ 7; Black Decl. ¶ 6; Udall Decl. ¶¶ 42-49; Gardner

Decl. ¶¶ 51-57; Madara Decl. ¶¶ 38, 41; Kost Decl. ¶¶ 102-108. Title X grantees that currently

provide Title X services and also offer referrals for abortion and abortion services with non-

federal funds in the same physical facility will be required to alter those facilities to create

separate “treatment, consultation, examination and waiting rooms” and “office entrances and

exits,” 84 Fed. Reg. at 7,789 (to be codified at 42 C.F.R. § 59.15(b))—at an estimated cost

exceeding $536,000 per facility. PPFA Comment 32. Grantees that cannot complete such

renovations—either because they lease facilities and are not permitted to make extensive

structural renovations or because their facilities are not large enough to support two separate

operations—will be forced out of the program unless they can obtain new facilities, at an

estimated cost exceeding $1 million each, a cost that is out of reach for many grantees. Id. at 32-

33. Title X grantees that engage in abortion-related activities outside the program will also be

required to incur significant costs to establish and maintain separate health records systems,

telephone systems, information technology systems, educational services, and websites. They

will also be required to hire separate personnel. See PPFA Comment 32-33; see also AMA

Comment 4; NY State Department of Health Comment Ltr. 18-19 (July 30, 2018).

         It is not feasible for non-profit Title X grantees to sustain such enormous costs. For

many grantees, the cost of compliance will far exceed the amount of Title X funding they



Page 33 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC        Document 42         Filed 03/21/19    Page 42 of 55




receive. For example, Planned Parenthood South Atlantic (“PPSAT”)—serving North Carolina,

South Carolina, western Virginia, and West Virginia—receives $2.9 million per year in Title X

funding, but obtaining new facilities to comply with the separation requirements would cost

nearly $6 million. Black Decl. ¶ 55; see also, e.g., Gardner Decl. ¶¶ 51, 57; Udall Decl. ¶¶ 42,

48. As a result of those unjustified costs, Title X providers will be forced to leave the program.

         And it will be their patients—above all—who will suffer. Those providers’ patients will

have to look elsewhere for care, but as the record shows many of them will not find a place to

obtain it. Many of Planned Parenthood’s health centers, for example, are located in areas where

patients have limited access to other reproductive health care providers. See PPFA Comment 33;

Atkinson Decl. ¶¶ 19-21; Black Decl. ¶¶ 18-20. Moreover, other Title X projects, which are

already overburdened, cannot realistically be expected to absorb the Title X caseload of those

grantees that would leave the program. Guttmacher Comment 9-10. Other Title X sites would

have to increase their client caseloads by 70%, on average, to serve all of the women who obtain

contraceptive care at Title X-supported Planned Parenthood health centers. Id. at 10.

         For all these reasons, the Separation Requirement would necessarily cause serious delays

and disruption in patient care. See, e.g., Guttmacher Comment 9-10. Many patients will likely

lose access to health care altogether. See id.; Kost Decl. ¶¶ 106-117. That is exactly what

§ 18114 proscribes. See 42 U.S.C. § 18114(1), (3), (6).

         Even for those Title X providers who remain within the program, the Separation

Requirement will have grave consequences. Those providers may simply abandon all of the so-

called “prohibited activities” that trigger the Separation Requirement so that they can continue to

receive Title X funds without incurring the cost-prohibitive expenses the Separation

Requirement would otherwise impose. These “prohibited activities,” again, include offering



Page 34 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19      Page 43 of 55




abortion referrals or providing abortions with non-Title X funds. As a result, the Separation

Requirement will deprive patients of information about abortion and access to abortion—and

will thus create an unreasonable barrier to medical care and interfere with patient-provider

communications regarding treatment options. See 42 U.S.C. § 18114(1)-(4). Moreover, these

consequences will unreasonably disrupt care not just for patients who rely on Title X for free or

subsidized care, but for all patients served by affected facilities—limiting the patients’

information and ability to make informed decisions about their medical care, and impeding or

delaying their ability to obtain an abortion. See supra pp. 18, 21.

         In defense, HHS contends that the Separation Requirement is required by Section 1008.

See 84 Fed. Reg. at 7,764. That is incorrect. Section 1008 prohibits only the use of Title X

“funds … in programs where abortion is a method of family planning.” 42 U.S.C. § 300a-6. It

does not require that Title X projects be physically separated from programs where abortion is

offered, so long as the grantee ensures that Title X funds are not used in such programs. See 65

Fed. Reg. at 41,276 (“[T]he statute does not on its face require physical separation; rather, by its

terms it is addressed to the use of ‘funds.’”). Moreover, integration of Title X projects with other

reproductive health services is consistent with Congress’s goal of making effective family-

planning services widely available to low-income communities. See H. R. Rep. No. 91-1472, at

4 (1970) (Title X was intended “to assure the coordination … of domestic family planning

services”). And HHS has provided grants to projects located in the same physical facility as

abortion-services providers—including many Planned Parenthood affiliates—since Title X’s

inception. See, e.g., Gardner Decl. ¶¶ 35, 50. Congress has long been aware that the placement

of Title X projects within larger reproductive health centers could, and often did, result in the

Title X services being offered in the same physical facility as other services, including abortion-



Page 35 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42        Filed 03/21/19     Page 44 of 55




related services. See, e.g., 124 Cong. Rec. 37,046 (1978). Nonetheless, Congress has never

acted to require physical separation, and rejected a 1978 proposal that would have had similar

effects to the rule proposed here. Id. at 37,045-37,046.

         Finally, although the Supreme Court held in Rust that a similar separation requirement

was a permissible means of enforcing the statutory prohibition against using Title X funds for

abortions, see 500 U.S. at 189-191, that conclusion does not govern here given Congress’s

subsequent prohibition, in the Affordable Care Act, of any HHS regulations that would create

unreasonable barriers or impair access to care. HHS is obligated to ensure that its

implementation of Section 1008 does not create an “unreasonable barrier[] to the ability of

individuals to obtain appropriate medical care” or “impede[] timely access to health care

services,” 42 U.S.C. § 18114(1)-(2). See, e.g., Pritzker, 828 F.3d at 1139 (agency action must

not be “inconsistent with a statutory mandate or … frustrate the congressional policy underlying

a statute”); Cactus Corner, LLC v. U.S. Dep’t of Agric., 346 F. Supp. 2d 1075, 1111 (E.D. Cal.

2004) (agencies must act in line with “the overall structure of the authoritative statutes and

regulations”). The Final Rule fails to satisfy those statutory obligations.

                            b.   The Separation Requirement is arbitrary and capricious

         The Separation Requirement should also be set aside because it lacks any support in the

administrative record and HHS fails to account for the serious reliance interests at stake.

         First, HHS nowhere meaningfully explains why the current regulations are inadequate,

and—as the record plainly shows—they are not. For decades, those regulations have ensured

that Title X funds are not used to provide abortions, and Title X providers have long relied on

them and complied with them. Longstanding HHS regulations make clear that Title X funds

may be used “solely for the purpose for which the funds were granted in accordance with …

applicable cost principles,” 42 C.F.R. § 59.9, and may not be used to “provide abortions,” id.

Page 36 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 45 of 55




§ 59.5(a)(5). Moreover, the current regulations have long required that Title X providers ensure

that “[n]on-Title X abortion activities … be separate and distinct from Title X project activities.”

65 Fed. Reg. at 41,282. And Title X grantees are already subject to audit and financial risk

assessment, among other things. See, e.g., Black Decl. ¶ 36; Atkinson Decl. ¶ 39.

         Indeed, the Final Rule cites no evidence of misuse of funds over the past half-century—

underscoring the effectiveness of the regulations the agency now seeks to displace. Instead of

evidence, HHS invoked “risk[s]” of “appearance[s],” “perceptions,” and “potential” misuse of

funds, 84 Fed. Reg. at 7,764-7,765, without pointing to anything to suggest those risks or

perceptions are anything more than speculation. In short, HHS devised the Separation

Requirement as a solution in search of a nonexistent problem. That does not suffice for reasoned

decision-making. See Natural Res. Def. Council, Inc. v. EPA, 859 F.2d 156, 210 (D.C. Cir.

1988); National Fed’n of Indep. Bus. v. Perez, 2016 WL 3766121, at *29 (N.D. Tex. June 27,

2016) (granting preliminary injunction where agency “has not offered any evidence showing a

new alleged need for its dramatically changed rule”).

         Second, the Final Rule failed to take into account the “serious reliance interests”

engendered by the prior policy that HHS now seeks to radically change. See, e.g., Encino

Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016); FCC v. Fox Tel. Stations, Inc., 556

U.S. 502, 515 (2009) (when a prior policy “has engendered serious reliance interests,” an agency

“must” “provide a more detailed justification than what would suffice for a new policy created

on a blank slate”). As explained below, the Final Rule fails to account for the drastic costs of

this new policy. But at a more fundamental level, the Final Rule fails to acknowledge that Title

X providers have structured their programs in accordance with the current regulations for

decades. Thus, relying on HHS’s settled interpretation of Title X, Title X providers have, for



Page 37 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42      Filed 03/21/19     Page 46 of 55




example, purchased or leased land, built health centers, hired and trained personnel, and

purchased and maintained health records systems—knowing that shared facilities, records

systems, and personnel are all expressly authorized by HHS. See, e.g., Gardner Decl. ¶¶ 4, 50-

58; Kost Decl. ¶¶ 102-103.

         Third, HHS has failed to account properly for the costs the Separation Requirement

would impose. HHS drastically underestimates the financial costs of the rule. HHS estimated

that affected grantees will incur average costs of $30,000, 84 Fed. Reg. at 7,782, but HHS

provides no support for its cost estimate. And the evidence before the agency shows that this

unexplained number is nowhere close to the actual cost of compliance: Planned Parenthood

estimated average capital costs of nearly $625,000 per affected service site. PPFA Comment 32;

see also NFPRHA Comment 37. That estimate was based on actual renovation and construction

cost estimates in a report produced by a federally funded non-profit organization that works with

community health centers and on Planned Parenthood’s experience acquiring commercial

property. See PPFA Comment 31-32.

         Furthermore, HHS fails to account for ongoing (not just one-time) costs, including those

associated with required duplication of staff and contracts for goods and services—costs that can

reach millions of dollars for some grantees. See PPFA Comment 32-33; Black Decl. ¶¶ 52-53;

Udall Decl. ¶¶ 45. Those costs will be exacerbated by the fact that the Separation Requirement

is both broad and vague, see supra p.13, and thus non-profit health providers with scarce

resources will be compelled to over-comply to avoid being found in violation. See ACLU

Comment 9; PPFA Comment 34-35. HHS also underestimates the number of Title X service

sites that will be affected by the Separation Requirement. HHS estimates that only 20% of Title

X service sites share resources with non-Title X projects that “offer abortion as a method of



Page 38 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19      Page 47 of 55




family planning.” 84 Fed. Reg. at 7,781. But HHS apparently disregards that the Separation

Requirement’s “prohibited activities” are defined by cross-reference to the Gag Requirement and

thus would also require separation from projects that speak about abortion—for example, by

providing abortion referrals or even placing abortion-related pamphlets on an office table.

HHS’s arbitrary cost estimate and disregard of the “relevant data” demonstrates that the

Separation Requirement was not “the product of reasoned decisionmaking.” State Farm, 463

U.S. at 52.

         Fourth, HHS also has “entirely failed to consider” the harms to public health caused by

the Separation Requirement. State Farm, 463 U.S. at 43. As commenters explained, this

requirement will result in many health care providers being forced to discontinue their

participation in Title X because it is cost-prohibitive for them to physically separate the Title X

project from other activities. See PPFA Comment 33; NFPRHA Comment 37. The departure of

a large number of Title X-funded providers would reduce access to family-planning care and

would lead to adverse effects on the health of both Title X and non-Title X patients. See supra

pp.21-35; PPFA Comment 15-20, 33; AMA Comment 4; Custer Decl. ¶¶ 96, 113, 121.

         And even if some Title X grantees are able to physically separate their programs, patients

will still suffer from uncoordinated care. See PPFA Comment 33-34; Custer Decl. ¶ 89. For

example, studies show that the required separation of health-records systems would pose a “risk

to patient safety.” PPFA Comment 34. Using multiple health records systems increases the risk

of missing data, including information about allergies or drug interactions and past medical

history or family history. See, e.g., Custer Decl. ¶ 89. HHS claims that “because of growing

interoperability of [electronic health record systems] and other health IT, it is a simpler matter

for one provider to share a patient’s [electronic health record] with another provider.”



Page 39 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42        Filed 03/21/19      Page 48 of 55




Reg. at 7,767. But a patient is unlikely to understand that when she visits a particular provider’s

Title X project, the notes from her visit will not be accessible at the same provider’s other facility

that may provide abortions or abortion referrals, and so the patient is unlikely to request that the

health record be shared in the first place.

         Finally, as with the Gag Requirement, HHS’s failure to account for the numerous

problems and costs identified by the commenters illustrates again that the Final Rule is the

product of Defendants’ prejudgment. See supra pp.10, 24 n.4. Indeed, it underscores that

President Trump meant precisely what he said when he offered that his “administration has

proposed a new rule to prohibit Title 10 funding from going to any clinic that performs

abortions.” Remarks by President Trump at the Susan B. Anthony List 11th Annual Campaign

for Life Gala, White House.gov (May 22, 2018). This rulemaking has never been about so-

called “program integrity” or fixing any actual problem with Title X. Rather, the clear purpose

and effect are to ban from the Title X program those providers who provide abortions with non-

Title X funds.

         B.       Plaintiffs And Patients Will Suffer Irreparable Harm Absent An Injunction

         If it is not enjoined, the Final Rule will cause grave and irreparable injuries to Plaintiffs,

their members and affiliates, and—above all—their patients. Title X providers will have to close

health centers, shorten hours, and lay off critical staff. Many patients will lose access to care, or

at a minimum face delays and disruptions in care. And they will lose trust in their providers and

the medical system as a whole. These harms will be widespread, but they will fall hardest on

those who already face the biggest barriers to care—low-income individuals, patients in rural

areas, and communities of color.

                  1.        Loss Of Providers, Health Center Closures, And Cut Services

         If the Final Rule is allowed to go into effect, all Planned Parenthood affiliates, numerous

Page 40 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC          Document 42       Filed 03/21/19     Page 49 of 55




States, and other providers will be forced to leave the program rather than comply with the Gag

Requirement’s unethical requirements. See supra p.20. Moreover, providers will be forced to

divert precious resources to complying with the Separation Requirement—where compliance is

even possible, which will not be the case for many Title X projects—at great cost to providers

and patients. See, e.g., Custer Decl. ¶ 87; Kost Decl. ¶ 76.

         Thus, as a direct result of the Final Rule, Planned Parenthood affiliates will have to close

health centers or reduce services and lay off clinicians and staff. Gardner Decl. ¶¶ 61-62; Udall

Decl. ¶¶ 51-52; Atkinson Decl. ¶ 60; Black Decl. ¶¶ 56-57. Planned Parenthood of Wisconsin

(“PPWI”), for example, anticipates that it would lose approximately $3.5 million in Title X

funding, and that it would have to close up to four health centers in rural areas and two locations

in Milwaukee, which receive between 25% and 70% of their budget from Title X. Atkinson

Decl. ¶¶ 59-60. Those health centers collectively serve an estimated 25,000 patients. Id. ¶ 62.

Those closures will leave thousands of patients (including both Title X patients and non-Title X

patients) with few or no options for high-quality reproductive care. Id. ¶ 63. As another

example, PPSAT would lose up to $2.9 million in Title X funding and would likely have to close

four health centers (which receive between 22% and 63% of their revenue from Title X) and lay

off up to four clinicians and approximately 20 other staff. Black Decl. ¶¶ 34, 56-57. Together,

these health centers serve more than 7,000 patients annually. Id. ¶ 57.

         This massive disruption in the provision of health care—resulting in closures, layoffs,

and service cutbacks—establishes irreparable harm. See, e.g., hiQ Labs, Inc. v. LinkedIn Corp.,

273 F. Supp. 3d 1099, 1105 (N.D. Cal. 2017). Plaintiffs will also be irreparably harmed by the

loss of patients and goodwill that would result if Planned Parenthood has to turn away patients

because of closures, service reductions, or a lack of funds to subsidize care for those who cannot



Page 41 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42       Filed 03/21/19     Page 50 of 55




afford it. See, e.g., Humana, Inc. v. Jacobson, 804 F.2d 1390, 1394 (5th Cir. 1986).

         Such harms cannot be remedied even if the Final Rule is enjoined at the end of litigation.

Lost Title X funds cannot be recouped from the federal government. See 5 U.S.C. § 702.

Moreover, laid off staff and clinicians cannot be easily re-hired; health centers that are closed

cannot be easily re-opened; patients who are turned away cannot be re-gained, and the lost trust

of patients for whom Plaintiffs are unable to provide reliable care cannot be restored. See Custer

Decl. ¶¶ 72, 110; Black Decl. ¶ 63. If Planned Parenthood affiliates lose Title X funding, they

will have to sell facilities, break leases, and abandon contracts, see, e.g., Custer Decl. ¶ 110—

which constitute irreparable harm, see, e.g., American Trucking Ass’ns, Inc. v. City of Los

Angeles, 559 F.3d 1046, 1058 (9th Cir. 2009); Pomerantz ex rel. NLRB. v. International

Longshore & Warehouse Union, Local 4, 2013 WL 5651624, at *8-9 (D. Or. Oct. 15, 2013).

         All of these harms are “likely, not just possible.” Alliance for Wild Rockies v. Cottrell,

632 F.3d 1127, 1131 (9th Cir. 2011). Experience shows that the loss of millions of dollars in

Title X funding would require widespread closures and service cuts. For example, in 2011, the

Wisconsin legislature cut PPWI’s funding by $1 million, and that affiliate was forced to close

five health centers in underserved rural communities, beginning just months after the cuts took

effect. Atkinson Decl. ¶ 74. Similar harms would befall many other Planned Parenthood

affiliates if the Final Rule is implemented. See Custer Decl. ¶¶ 91, 110, 122.

                  2.        Harm To The Provider-Patient Relationship

         In addition, Plaintiffs’ reputations as reliable providers of high-quality medical care will

be tarnished if the Final Rule is allowed to take effect. As explained, the Final Rule will force

providers to choose between violating their ethical responsibilities and leaving the Title X

program. Those who remain would be compelled to withhold information from their patients—

information patients seek and need to make an informed decision about their care.

Page 42 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC           Document 42       Filed 03/21/19      Page 51 of 55




         The Final Rule would in turn cause patients to lose trust in their providers and the

medical system as a whole. See Ewing Decl. ¶¶ 41-44; Megregian Decl. ¶¶ 38-39. Patients

expect their providers to deliver high-quality comprehensive care at every visit, whether or not it

is being funded by Title X. If providers cannot do that consistently, they will no longer be able

to earn or keep their patients’ trust for any type of visit. See Custer Decl. ¶¶ 72, 76. That

threatened loss of patient trust warrants injunctive relief. See, e.g., Stuhlbarg Int’l Sales Co., v.

John D. Brush & Co., 240 F.3d 832, 841 (9th Cir. 2001).

                  3.        Harm To Patients And Public Health

         Finally—and most important—the Final Rule will have devastating consequences on

patients. The rule would impose limits on the counseling and referrals that reproductive care

providers give to pregnant patients who seek their care every day. Ewing Decl. ¶¶ 22, 45-47;

Megregian Decl. ¶¶ 46-47. As explained above, the Final Rule is likely to result in delayed

abortions and other care, thereby increasing medical risk. And patients will also lose their trust

in their providers and the medical system as a whole. There can be no question that such harm is

irreparable. See Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir. 2004).

         Moreover, if Planned Parenthood is forced to forgo Title X funding, shorten hours, lay

off clinicians, and close health centers, vast numbers of women and men—many in underserved

areas—will be left without a dedicated reproductive care provider, or access to that care at all.

See Guttmacher Comment 10; Custer Decl. ¶¶ 114, 122-123; Atkinson Decl. ¶¶ 63-65; Black

Decl. ¶ 60; Gardner Decl. ¶¶ 16, 63. Those impacts will disrupt care not just for patients who

rely on Title X for free or subsidized care, but for all patients served by affected facilities,

including those on Medicaid or with private insurance. See, e.g., Custer Decl. ¶ 56. And for

those patients at Planned Parenthood health centers that do not close as a result of the Final Rule,

they will no longer be able to rely on Title X and instead will be forced to pay for care they

Page 43 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19      Page 52 of 55




cannot afford and thus might ration care or even go without. Id. ¶ 92; Atkinson Decl. ¶ 64.

         As detailed above, Planned Parenthood affiliates serve many regions where other

providers have a limited ability to absorb the influx of patients left behind if the local Planned

Parenthood health center were to close. See, e.g., Guttmacher Comment 10 & Tables 1-3; Custer

Decl. ¶ 97; Kost Decl. ¶¶ 77-81. As many courts have recognized, the loss of a patient’s

provider of choice is an irreparable harm that merits injunctive relief. See, e.g., Planned

Parenthood Ariz., Inc. v. Betlach, 899 F. Supp. 2d 868, 886 (D. Ariz. 2012). Moreover, for

many patients, losing access to Planned Parenthood in particular would mean losing access to

HIV, STI, and cancer screenings, contraceptives, and pregnancy tests, among other life-saving

services. See Brindis Comment 12; Custer Decl. ¶¶ 26-27; Atkinson Decl. ¶ 73; Kost Decl. ¶¶

52-54. That loss means diseases will go undetected, more women will have unwanted

pregnancies, and prenatal care will be delayed. See Custer Decl. ¶¶ 26-27; Brindis Decl. ¶¶ 23-

25, 27-29; Kost Decl. ¶ 82.

         AMA members practice in all States, and Planned Parenthood operates 600-plus health

centers in 48 States and the District of Columbia. Compl. ¶¶ 26, 35. Absent an injunction

against enforcement of the Final Rule, Plaintiffs, their members, and their patients will suffer

these irreparable harms across the country, and the ultimate impact will be a public health crisis.

         C.       The Balance Of Equities And Public Interest Favor An Injunction

         When the government is a party to a case in which a preliminary injunction is sought, the

balance-of-the-equities and public-interest factors merge. Nken v. Holder, 556 U.S. 418, 435

(2009). Both weigh heavily in Plaintiffs’ favor. The government seeks to upend the way the

Title X program has worked with great success for nearly a half century. It cannot credibly

claim harm from preserving the status quo. Conversely, injunctive relief is necessary to ensure

that patients across the country retain access to their reproductive health care provider of choice.

Page 44 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC         Document 42       Filed 03/21/19       Page 53 of 55




         As explained, the closure of Planned Parenthood health centers would leave many low-

income Americans without access to their provider of choice—if they have any provider

remaining at all. Other health centers would be unable to fill the gap of services that would exist.

See, e.g., Atkinson Decl. ¶ 69; Black Decl. ¶¶ 59-60. Past experience shows that when Planned

Parenthood has had to close clinics because of funding cuts, the public health suffers. See supra

pp.23, 42; Atkinson Decl. ¶¶ 73-75; see also Brindis Decl. ¶¶ 31, 47. The Ninth Circuit has

“repeatedly recognized that individuals’ interests in sufficient access to health care” are

paramount, and that the public interest and balance of equities weigh in favor of an injunction

where such access would otherwise be interrupted. E.g., Dominguez v. Schwarzenegger, 596

F.3d 1087, 1098 (9th Cir. 2010), vacated and remanded on other grounds by Douglas v.

Independent Living Ctr. of S. Cal., Inc., 565 U.S. 606 (2012). A preliminary injunction would

simply ensure that the Title X program is carried out as it has been for nearly 50 years. There is

no need at all, let alone an urgent need, to change this life-saving program, and the government

would suffer no harm from an injunction while this litigation proceeds. 8

V.       CONCLUSION

         Plaintiffs’ motion for a preliminary injunction should be granted.



8
        This Court should waive any injunction bond under Rule 65(c). First, this case directly
affects the public interest. See Santa Rosa Mem. Hosp. v. Maxwell-Jolly, 380 F. App’x 656, 658
(9th Cir. 2010), vacated and remanded on other grounds by Douglas, 565 U.S. 606. Second,
Plaintiffs will be denied effective review if required to post a bond. Custer Decl. ¶ 126; Gardner
Decl. ¶ 64; Udall Decl. ¶ 54; see Save Our Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1126 (9th
Cir. 2005). Third, the federal government will not incur any damages from the injunction. See
Planned Parenthood of Greater Tex. Family Planning & Preventative Health Servs., Inc. v.
Smith, 236 F. Supp. 3d 974, 999-1000 (W.D. Tex. 2017), aff’d in part and rev’d in part on other
grounds, 913 F.3d 551 (5th Cir. 2019). Finally, Plaintiffs’ “‘likelihood of success on the merits
… tips in favor of a minimal bond or no bond at all.’” 2Die4Kourt v. Hillair Capital Mgmt.,
LLC, 692 F. App’x 366, 369 (9th Cir. 2017).


Page 45 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC     Document 42   Filed 03/21/19   Page 54 of 55




Dated: March 21, 2019                        Respectfully submitted.

                                             s/ Per A. Ramfjord
Brian D. Vandenberg*                         Jeremy D. Sacks, OSB 994262
Leonard A. Nelson*                           Per A. Ramfjord, OSB 934024
Erin G. Sutton*                              Kennon Scott, OSB 144280
AMERICAN MEDICAL ASSOCIATION                 STOEL RIVES LLP
Office of General Counsel                    760 SW Ninth Avenue, Suite 3000
300 N. Wabash Avenue                         Portland, OR 97205
Chicago, IL 60611                            Tel.: (503) 224-3380
brian.vandenberg@ama-assn.org                Fax: (503) 220-2480
leonard.nelson@ama-assn.org                  jeremy.sacks@stoel.com
erin.sutton@ama-assn.org                     per.ramfjord@stoel.com
*Pro hac vice                                kennon.scott@stoel.com
Counsel for Plaintiffs American Medical      Counsel for All Plaintiffs
Association and Oregon Medical Association
                                             Helene T. Krasnoff*
Mark Bonanno, OSB 942535*                    Carrie Y. Flaxman*
OREGON MEDICAL ASSOCIATION                   PLANNED PARENTHOOD
General Counsel                                FEDERATION OF AMERICA, INC.
11740 SW 68th Parkway, Suite 100             1110 Vermont Avenue, NW, Suite 300
Portland, OR 97223                           Washington, D.C. 20005
mark@theoma.org                              Tel.: (202) 973-4800
*Pro hac vice                                Fax: (202) 296-3480
Counsel for Plaintiffs American Medical      helene.krasnoff@ppfa.org
Association and Oregon Medical Association   carrie.flaxman@ppfa.org
                                             *Pro hac vice
                                             Counsel for Plaintiffs Planned Parenthood
                                             Federation of America, Inc., Planned
                                             Parenthood of Southwestern Oregon,
                                             Planned Parenthood Columbia Willamette,
                                             Thomas N. Ewing, M.D., and Michele P.
                                             Megregian, C.N.M.




Page 46 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
         Case 6:19-cv-00318-MC     Document 42      Filed 03/21/19    Page 55 of 55




Alan E. Schoenfeld*                               Paul R.Q. Wolfson*
WILMER CUTLER PICKERING                           Kimberly A. Parker*
   HALE AND DORR LLP                              Albinas J. Prizgintas*
7 World Trade Center                              Joshua M. Koppel*
250 Greenwich Street                              WILMER CUTLER PICKERING
New York, NY 10007                                   HALE AND DORR LLP
Tel.: (212) 230-8800                              1875 Pennsylvania Avenue NW
Fax: (212) 230-8888                               Washington, DC 20006
alan.schoenfeld@wilmerhale.com                    Tel.: (202) 663-6000
*Pro hac vice                                     Fax: (202) 663-6363
Counsel for Plaintiffs Planned Parenthood         paul.wolfson@wilmerhale.com
Federation of America, Inc., Planned Parenthood   kimberly.parker@wilmerhale.com
of Southwestern Oregon, Planned Parenthood        albinas.prizgintas@wilmerhale.com
Columbia Willamette, Thomas N. Ewing, M.D.,       joshua.koppel@wilmerhale.com
and Michele P. Megregian, C.N.M.                  *Pro hac vice
                                                  Counsel for Plaintiffs Planned
                                                  Parenthood Federation of America, Inc.,
                                                  Planned Parenthood of Southwestern
                                                  Oregon, Planned Parenthood Columbia
                                                  Willamette, Thomas N. Ewing, M.D., and
                                                  Michele P. Megregian, C.N.M.




Page 47 - PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
100791677.3 0099880-01222
